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Counsel for the Plaintiff

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

  In re:                                              Chapter 11

  FIRESTAR DIAMOND, INC., et al.                      No. 18-10509 (SHL)

                            Debtors.                  (Jointly Administered)


  RICHARD LEVIN, Chapter 11 Trustee of
  FIRESTAR DIAMOND, INC., FANTASY, INC.,              Adv. Proc. No. 19-1102 (SHL)
  and OLD AJ, INC. f/k/a A. JAFFE, INC.,

                            Plaintiff,

           v.

  NIRAV DEEPAK MODI, MIHIR BHANSALI,
  and AJAY GANDHI,

                            Defendants.


                              NOTICE OF DISCOVERY CONFERENCE

        PLEASE TAKE NOTICE that a discovery conference in the above-captioned adversary

proceeding will take place on July 7, 2022 at 10:00 AM (ET). The discovery conference will be

conducted via Zoom. Parties wishing to participate in the discovery conference must register
their appearance using the Electronic Appearance portal located on the Bankruptcy Court’s

website at: https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.

       Appearances must be entered no later than 4:00 p.m. (ET) on July 6, 2022. Additional

information concerning how to participate in the discovery conference is available in the

Bankruptcy       Court’s     Zoom       Video       Hearing           Guide,   available   at:

https://www.nysb.uscourts.gov/zoom-video-hearing-guide.



Dated: June 30, 2022                      Respectfully submitted,
       New York, New York
                                          JENNER & BLOCK LLP

                                          By: /s/ Vincent E. Lazar
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